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                                            Exhibit B                                                                                  FILED
                                                                                                                                       3/10/2022 4:34 PM
                                                                                                                                       IRIS Y.#40058
                                                                                                                                               MARTINEZ
                                                                                                                                       CIRCUIT CLERK
                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                                                                       COOK COUNTY, IL
                                                                     COUNTY DEPARTMENT, LAW DIVISION
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                                                                                                                                       2021L010790
                                                                                                                                       17040233
                                               BRICIO CORTES-RANGEL,                          )
                                                                                              )
                                                                                              )
                                                               Plaintiff,                     )
                                                                                              )
                                                       v.                                     )         No. 2021 L 010790
                                                                                              )         $50,000 +
                                               SCHINDLER ELEVATOR                             )         JURY DEMANDED
                                               CORPORATION,                                   )
                                                                                              )
                                                               Defendant.                     )

                                                                             AMENDED COMPLAINT AT LAW

                                                       NOW COMES Plaintiff, BRICIO CORTES-RANGEL, by and through his attorneys of

                                               Weiss Ortiz, P.C., and for his Amended Complaint at Law against Defendant, SCHINDLER

                                               ELEVATOR CORPORATION, states as follows:

                                                                                 COMMON ALLEGATIONS

                                                                                         THE PARTIES

                                                       1.      At all times relevant, Plaintiff, BRICIO CORTEZ-RANGEL (“BRICIO”), is an

                                               individual residing in Cook County, Illinois, and a citizen of the State of Illinois.

                                                       2.      At all times relevant, Defendant, SCHINDLER ELEVATOR CORPORATION

                                               (“SCHINDLER”), is a Delaware Corporation that provides mobility solutions, such as escalators,

                                               for all types of buildings.

                                                       3.      At all times relevant, SCHINDLER is duly registered to conduct business in the

                                               State of Illinois with offices located at 200 East Randolph Street, Suite 5400, Chicago, Illinois

                                               60601, and provides services in the state of Illinois.
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                                                   4.         At all times relevant, Penney Opco, LLC, is a private company d/b/a JCPenney

                                            (“JCP”) with its principal place of business located in Texas.
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                                                   5.         At all times relevant, JCP is a midscale retail shopping department store chain duly

                                            registered to conduct business in the State of Illinois, and owned or leased, operated and possessed

                                            the multi-level retail store open to the public located at 7507 West Cermak Road, North Riverside,

                                            Illinois 60546 in Cook County (“Premises”).

                                                   6.         At all times relevant, SCHINDLER is under exclusive contract with JCP for the

                                            installation, inspection, servicing, maintenance, management and/or modernization for the

                                            escalator application located at the Premises used for transporting business invitees and members

                                            of the public as passengers up and down floors within the Premises and SCHINDLER controlled

                                            said escalator.

                                                                               JURISDICTION AND VENUE

                                                   7.         Jurisdiction and venue are proper in the Circuit Court of Cook County, Illinois,

                                            pursuant to 735 ILCS 5/2-101, as Cook County is the county in which the transactions, allegations

                                            and/or where some or part thereof occurred out of which the cause of action arose.

                                                                                       OCCURRENCE

                                                   8.         That JCP invited the general public, including BRICIO, to enter the Premises for

                                            the purpose of retail shopping.

                                                   9.         On November 8, 2019, BRICIO was lawfully on the Premises as a customer of JCP

                                            for the purpose of retail shopping.

                                                   10.        That while on the Premises, at approximately 5:22 p.m., BRICIO was the sole

                                            customer riding the down escalator from the second floor to the first floor when he heard a loud

                                            noise beneath his feet and the escalator abruptly jolted, causing BRICIO to fall backwards on his
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                                            head, back and neck onto the escalator stairs and knocking him heavily down the escalator stairs

                                            where he came to rest on the first floor causing him severe injuries.
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                                                   11.      Following the accident, BRICIO was taken by ambulance to MacNeal Hospital, in

                                            Berwyn, Illinois, where he was treated for his injuries and underwent surgery.

                                                                                  COUNT I – Negligence

                                                   12.      BRICIO repeats and realleges paragraphs 1- 11 of the Common Allegations as if

                                            once again fully set forth herein as and for paragraph 12 of Plaintiff’s Count I.

                                                   13.      That at all times relevant, BRICIO was in the exercise of ordinary care and caution

                                            for his own safety and did exercise that degree of care and caution for his own safety commensurate

                                            with that of an individual of his like age, capacity, discretion, experience, intelligence, and ability.

                                                   14.      That SCHINDLER had a duty, by its duly authorized agents, servants and/or

                                            employees, to exercise reasonable care in the adequate installation, inspection, servicing, repair,

                                            maintenance, management and operation of the escalator on the Premises for the benefit of

                                            individuals lawfully on the Premises as invitees, including BRICIO, so as to prevent injury to such

                                            persons.

                                                   15.      That SCHINDLER, by its duly authorized agents, servants and/or employees,

                                            breached its duty to BRICIO by one or more than one of the following careless and negligent acts

                                            or omissions:

                                                            a.     failing to adequately install, inspect, repair, maintain, service, manage
                                                                   and/or operate the escalator in a safe condition;
                                                            b.     failing to properly and/or adequately supervise, oversee and inspect the
                                                                   escalator from being operated in an unsafe condition;
                                                            c.     failing to inspect the escalator on a regular basis so as to prevent an unsafe
                                                                   condition that would cause the escalator to abruptly stop;
                                                            d.     allowing BRICIO to access and use the escalator when it knew, or in the
                                                                   exercise of ordinary care and caution should have known that it was
                                                                   dangerous and unsafe to do so;
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                                                           e.      failing to warn BRICIO of the unsafe and hazardous condition of the
                                                                   escalator; and
                                                           f.      other acts and omissions.
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                                                   16.     That SCHINDLER, by its duly authorized agents, servants and/or employees, had

                                            actual knowledge of the fact that the escalator was unsafe and subject to abrupt stops, or, if

                                            SCHINDLER lacked the actual knowledge, in the exercise of due care, it could and should have

                                            had such knowledge.

                                                   17.     That as a direct and proximate result of one or more than one of SCHINDLER’S

                                            negligent acts and/or omissions, by its duly authorized agents, servants and/or employees, BRICIO

                                            suffered severe injuries, both internally and externally, of a permanent and lasting nature which

                                            have caused and will continue to cause him pain in body and mind, including but not limited to

                                            pain and suffering, injury to back, neck, shoulders, daily headaches and emotional suffering.

                                                   18.     As a direct and proximate result of one or more of SCHINDLER’S negligent acts

                                            and/or omissions, by its duly authorized agents, servants and/or employees, BRICIO sustained

                                            damages of a pecuniary nature, past, present and future, including but not limited to injury, pain,

                                            suffering, mental and emotional pain and suffering, hospital and medical and related expenses, lost

                                            wages and opportunities and Plaintiff has been and in the future will be prevented from fulfilling

                                            his daily activities and he has and will continue to have impairment and limited range of motion

                                            that will prevent him from functioning at full capacity.

                                                   WHEREFORE, Plaintiff, BRICIO CORTES-RANGEL, prays judgment be entered in his

                                            favor and against Defendant, SCHINDLER ELEVATOR CORPORATION, for a sum in excess

                                            of FIFTY THOUSAND DOLLARS ($50,000) for pain and suffering, compensatory, pecuniary

                                            and other damages according to proof and for such other and further relief as this Court deems just

                                            and proper.
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                                                                             COUNT II – Res Ipsa Loquitur

                                                   19.     BRICIO adopts and incorporates paragraphs 1- 11 of the Common Allegations as
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                                            if fully set forth herein as and for paragraph 19 of Count II of Plaintiff’s Complaint.

                                                   20.     SCHINDLER, by its duly authorized agents, servants and/or employees, had

                                            exclusive control of the escalator immediately before and at the time that the escalator abruptly

                                            jolted, causing BRICIO to fall backwards on his back and neck onto the escalator stairs and

                                            knocking him heavily down the escalator stairs.

                                                   21.     BRICIO took no action while on the escalator, that in the ordinary course of events,

                                            would result in causing him to fall backwards on his back and neck onto the escalator stairs and

                                            knocking him heavily down the escalator stairs.

                                                   22.     Other than the abrupt jolt of the escalator caused by SCHINDLER, by its duly

                                            authorized agents, servants and/or employees, BRICIO suffered no other trauma or action, that, in

                                            the ordinary course of events would result in causing him to fall backwards on his back and neck

                                            onto the escalator stairs and knocking him heavily down the escalator stairs.

                                                   23.     The aforementioned occurrence, in which the escalator abruptly jolted, causing

                                            BRICIO to fall backwards on his back and neck onto the escalator stairs and knocking him heavily

                                            down the escalator stairs, is of such a nature that it would not ordinarily have happened absent

                                            negligence.

                                                   24.     The accident would not have occurred if SCHINDLER, by its duly authorized

                                            agents, servants and/or employees, had exercised ordinary care in the adequate installation,

                                            inspection, servicing, repair, maintenance, management and operation of the escalator on the

                                            Premises for the benefit of individuals lawfully on the Premises as invitees, including BRICIO, so

                                            as to prevent injury to such persons.
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                                                    25.    Consequently, it is presumed and inferred that SCHINDLER, by its duly authorized

                                            agents, servants and/or employees, was negligent in the adequate installation, inspection,
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                                            servicing, repair, maintenance, management and operation of the escalator.

                                                    26.    As a direct and proximate result of SCHINDLER’S negligence described above,

                                            BRICIO was caused to fall backwards on his back and neck onto the escalator stairs and knocking

                                            him heavily down the escalator stairs where he came to rest on the first floor causing him severe

                                            injuries.

                                                    27.    As a direct and proximate result of SCHINDLER’S negligence described above,

                                            BRICIO sustained damages of a pecuniary nature, past, present and future, including but not

                                            limited to injury, pain, suffering, mental and emotional pain and suffering, hospital and medical

                                            and related expenses, lost wages and opportunities and Plaintiff has been and in the future will be

                                            prevented from fulfilling his daily activities and he has and will continue to have impairment and

                                            limited range of motion that will prevent him from functioning at full capacity.

                                                    WHEREFORE, Plaintiff, BRICIO CORTES-RANGEL, prays judgment be entered in his

                                            favor and against Defendant, SCHINDLER ELEVATOR CORPORATION, for a sum in excess

                                            of FIFTY THOUSAND DOLLARS ($50,000) for pain and suffering, compensatory, pecuniary

                                            and other damages according to proof and for such other and further relief as this Court deems just

                                            and proper.

                                                                                                 Respectfully submitted,



                                                                                         By:
                                                                                                 ADEENA WEISS ORTIZ
                                                                                                 One of the Attorneys for Plaintiff
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